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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-22002-CIV-ALTONAGA/Reid

  AMANDA RAMIREZ, et al.,

          Plaintiffs,
  v.

  SHEIN US SERVICES, LLC,

        Defendant.
  ___________________________/

                                                 ORDER

          THIS CAUSE came before the Court on Defendant, Shein US Services, LLC’s Motion to

  Compel Arbitration and to Stay Case in Favor of Arbitration [ECF No. 18], filed on July 19, 2024.

  Plaintiffs, Amanda Ramirez and Hanna Pita, filed a Response [ECF No. 19]; to which Defendant

  filed a Reply [ECF No. 20]. The Court has carefully considered the parties’ written submissions,

  the record, and applicable law. For the following reasons, the Motion is granted.

                                           I. BACKGROUND

          Plaintiffs filed this class action lawsuit against Defendant under the Telephone Consumer

  Protection Act, 47 U.S.C. section 227, et seq., and the Florida Telephone Solicitation Act, Fla.

  Stat. section 501.059. (See First Am. Compl. (“FAC”) [ECF No. 16] ¶ 1). Plaintiffs allege

  “Defendant engages in unsolicited text messaging and continues to text message consumers after

  they have opted out of Defendant’s solicitations[,]” in violation of these statutes. (Id. ¶ 2 (alteration

  added)). Plaintiffs assert Defendant’s marketing text messages instruct consumers to “Reply

  STOP to stop[,]” but when consumers do so, Defendant continues to send text messages. (Id. ¶ 9
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  (alteration added; quoting screenshot); see also id. ¶¶ 10–14). 1 At issue is whether this dispute

  should be tried here or decided by an arbitrator.

         Defendant’s consumers are required to sign an agreement to arbitrate and a class action

  waiver. The parties dispute whether consumers have adequate notice of the arbitration agreement.

  (See Mot. 3–9; Resp. 4–9). 2 To complete a purchase on Defendant’s webpage, the consumer must

  click the “CONTINUE” button as shown:




  1
    For example, Plaintiffs allege Defendant ignored Ramirez’s April 21, 2024 “STOP” request and continued
  text messaging her, sending her messages on April 28, 2024; May 5, 2024; and May 12, 2024. (FAC ¶¶ 10–
  11). Similarly, Pita made her first “STOP” request on April 29, 2024, but Defendant continued to text
  message her on May 2, 2024; May 4, 2024; May 5, 2024; May 6, 2024; May 8, 2024; May 11, 2024; May
  12, 2024; May 14, 2024; and May 16, 2024. (Id. ¶¶ 12–13).
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   The Court uses the pagination generated by the electronic CM/ECF database, which appears in the headers
  of all court filings.


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  (Mot., Ex. 1, Chi Decl. [ECF No. 18-1] ¶ 7). Directly above the “CONTINUE” button, the

  consumer is informed “[b]y placing th[e] order[,] [the consumer] agree[s] to [Defendant’s] Terms

  and Conditions[.]” (Id. (alterations added)). The phrase “Terms and Conditions” appears in blue

  font and is hyperlinked to the full Agreement. (See id. ¶ 8). Section 13 of the Terms and

  Conditions is titled “Legal Disputes and Arbitration Agreement . . .” and includes an arbitration

  agreement, jury trial waiver, and class action waiver. (Id. 28–33 (alteration added)).

          Defendant moves to compel arbitration and stay the case. (See generally Mot.; Reply).

  Defendant insists Plaintiffs agreed to Defendant’s online Terms and Conditions in their

  Agreements, which require complainants to arbitrate claims on an individual basis. (See generally

  Mot.; Reply; Chi. Decl. 28–29). Plaintiffs insist the contents of Section 13 are collateral to the

  Terms and Conditions, and thus Defendant was required — and failed to — provide specific notice

  of the terms of Section 13. (See generally Resp.).

                                       II. LEGAL STANDARD

          “District courts consider three factors in reviewing a motion to compel arbitration:

  (1) [w]hether there is a valid written agreement to arbitrate; (2) [w]hether there is an arbitrable

  issue; and (3) [w]hether the right to arbitrate has been waived.” Dimattina Holdings, LLC v. Steri-

  Clean, Inc., 195 F. Supp. 3d 1285, 1288 (S.D. Fla. 2016) (alterations added; quotation marks and

  citation omitted). Plaintiffs do not contest whether their claims are arbitrable or assert the right to

  arbitrate has been waived; rather, Plaintiffs deny they had notice of their arbitration agreements,

  rendering the agreements invalid. (See generally Resp.). Consequently, resolution of the Motion

  turns on the first factor.

          The Federal Arbitration Act (the “FAA”), 9 U.S.C. section 1, et seq., makes written

  arbitration agreements “valid, irrevocable, and enforceable, save upon such grounds as exist at law



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  or in equity for the revocation of any contract[.]” Id. at § 2 (alteration added). “The FAA was

  enacted in 1925 in response to widespread judicial hostility to arbitration agreements[,]” and it

  “reflect[s] both a ‘liberal federal policy favoring arbitration,’ and the ‘fundamental principle that

  arbitration is a matter of contract[.]’” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339

  (2011) (alterations added; citations omitted).            This means “courts must place arbitration

  agreements on equal footing with other contracts, . . . and enforce them according to their terms[.]”

  Id. (alterations added; citations omitted). But it also means such agreements may be “invalidated

  by ‘generally applicable contract defenses, such as fraud, duress, or unconscionability[.]’” Id.

  (alteration added; quoting Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996); other

  citation omitted).

          “Although the FAA governs the applicability of arbitration agreements, state law governs

  issues ‘concerning the validity, revocability, and enforceability of contracts generally.’” Bhim v.

  Rent-A-Center, Inc., 655 F. Supp. 2d 1307, 1311 (S.D. Fla. 2009) (quoting Perry v. Thomas, 482

  U.S. 483, 492 n.9 (1987)); see also Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1368

  (11th Cir. 2005) (“[S]tate law generally governs whether an enforceable contract or agreement to

  arbitrate exists.” (alteration added; citation omitted)). Defenses such as fraud, unconscionability,

  and duress are governed by state law. See Bhim, 655 F. Supp. 2d at 1311.

          In this case, Plaintiffs’ claims arose in Florida and North Carolina, but beyond a few

  passing references in their briefs, the parties apply Florida law only. 3 The parties do not indicate

  application of North Carolina law would result in a different outcome. (See generally Mot.; Resp.;

  Reply). Based on this briefing, the Court considers only Florida law. See MidAmerica C2L Inc.



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   Plaintiffs assert that North Carolina applies to Pita’s claims, but they only cite Florida law. (See generally
  Resp.). Other than some citations in the Motion, Defendant also only briefs Florida law. (See generally
  Mot.; Reply).
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  v. Siemens Energy Inc., No. 20-11266-Civ, 2023 WL 2733512, at *10 (11th Cir. Mar. 31, 2023)

  (“Choice of law is not jurisdictional” and is therefore waivable. (citations omitted)); see also

  Hewlett-Packard Co. v. CP Transp. LLC, No. 12-21258-Civ, 2012 WL 4795766, at *2 (S.D. Fla.

  Oct. 9, 2012) (“The onus is upon the parties to formulate arguments.” (alteration adopted;

  quotation marks and footnote call number omitted; quoting Resol. Tr. Corp. v. Dunmar Corp., 43

  F.3d 587, 599 (11th Cir. 1995); other citation omitted)).

         “The party opposing a motion to compel arbitration . . . ‘has the affirmative duty of coming

  forward by way of affidavit or allegation of fact to show cause why the court should not compel

  arbitration.’” Sims v. Clarendon Nat’l Ins. Co., 336 F. Supp. 2d 1311, 1314 (S.D. Fla. 2004)

  (alteration added; citation omitted). “This burden is not unlike that of a party seeking summary

  judgment.” Id. (quotation marks and citation omitted). “Therefore, the party opposing arbitration

  should identify those portions of the pleadings, depositions, answers to interrogatories, and

  affidavits which support its contention.” Id. (alterations adopted; quotation marks and citations

  omitted).

                                          III. ANALYSIS

         The parties agree the Agreement’s Terms and Conditions include an agreement to arbitrate

  and class action waiver. (See generally Mot.; Resp.). Plaintiffs argue, however, that Defendant

  failed to give proper notice of the arbitration agreements, rendering those agreements

  unenforceable.

         Plaintiffs argue the agreement to arbitrate and class action waiver are “collateral

  document[s]” to the Agreements’ Terms and Conditions or a “collateral agreement” because the

  user must click on the hyperlinked Terms and Conditions to reach the agreement. (Resp. 5

  (alteration added)). Plaintiffs point to Goldstein v. Fandango Media, LLC, No. 21-cv-80466, 2021



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  WL 6617447 (S.D. Fla. July 27, 2021), where the court denied a motion to compel arbitration

  based on “collateral arbitration agreements” not “incorporat[ed]” within the online terms and

  conditions. (Resp. 5 (alteration added); see also id. 5–7). In Goldstein, the court found an

  arbitration agreement was collateral to the defendant’s online terms and conditions and thus had

  to be properly “incorporated” into the terms and conditions. Goldstein, 2021 WL 6617447, at *4

  (citation omitted); (see also Resp. 6). There, the court held the defendant did not properly

  incorporate the agreement because the notice of the terms and conditions failed to “sufficiently

  describe it so that the user is on notice of the mandatory arbitration provision[.]” Goldstein, 2021

  WL 6617447, at *4 (alteration added). Plaintiffs argue Goldstein requires Defendant to include a

  notice of the arbitration agreement on the same webpage as the “CONTINUE” to sale button. (See

  Resp. 5–6).

          According to Defendant, “the arbitration clause in the Terms [and Conditions] is not an

  incorporated collateral agreement,” but rather “a specific enumerated term within the

  [A]greement.” (Reply 4–5 (alteration adopted; other alterations added; quotation marks omitted;

  quoting Adams v. Lashify, Inc., 689 F. Supp. 3d 1146, 1155 n.6 (M.D. Fla. 2023); other citations

  omitted)). The Court agrees. Defendant cites several cases where courts have found arbitration

  agreements contained within a website’s terms of use are not incorporated collateral agreements,

  even where the notice of the terms of use makes no mention of an arbitration agreement. 4 (See id.

  (citing Adams, 689 F. Supp. 3d at 1155 n.6; Derriman v. Mizzen & Main LLC, --- F. Supp. 3d ---,



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     For this reason, Plaintiffs’ reliance on Bell v. Royal Seas Cruises, Inc., No. 19-cv-60752, 2020 WL
  5742189 (S.D. Fla. May 13, 2020), is also unavailing. (See Resp. 7–8). While it is certainly sufficient to
  explicitly state the terms and conditions include mandatory arbitration, as was the case in Bell, it is not
  required. Further, in Bell, “a genuine dispute of material fact exist[ed] with respect to whether [p]laintiff
  . . . visited the Website, and clicked ‘Continue,’ on the date and time in question.” Id. at *8 (alterations
  added). No such dispute exists here.


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  No. 23-cv-1132, 2023 WL 9022723, at *7 n.3 (M.D. Fla. Dec. 29, 2023); Falcon v.

  TelevisaUnivision Digital, Inc., No. 23-cv-02340, 2024 WL 1492831, at *4 (M.D. Fla. Mar. 29,

  2024))); see also Kravets v. Anthropologie, Inc., No. 22-cv-60443, 2022 WL 1978712, at *4–6

  (S.D. Fla. June 6, 2022) (enforcing an arbitration agreement where the browsewrap 5 link to the

  website’s terms did not reference the arbitration agreement). Indeed, the agreements to arbitrate

  here are included as an enumerated term within the Terms and Conditions rather than separate

  stand-alone documents; the agreements are listed in Section 13 in the Agreements’ Terms and

  Conditions’ table of contents. (See Chi Decl. 9–10, 28–33).

          Plaintiffs attempt to distinguish this case by arguing their arbitration agreements with

  Defendant were separate collateral agreements rather than arbitration clauses of the Agreements.

  (See Resp. 8–9). Fatal to Plaintiffs’ argument, they provide no explanation or authority supporting

  the conclusory assertion that their embedded arbitration agreements were separate collateral

  agreements as opposed to arbitration clauses. (See generally Resp.). Because Plaintiffs do not

  explain how their arbitration agreements with Defendant are collateral to their Agreements’ Terms

  and Conditions –– of which the arbitration agreements are an enumerated section –– Plaintiffs fail

  to persuade that Goldstein applies. Compare Goldstein, 2021 WL 6617447, at *4, with BGT Grp.,

  Inc. v. Tradewinds Engine Servs., LLC, 62 So. 3d 1192, 1194–95 (Fla. 4th DCA 2011) (finding

  the terms and conditions of a contract were a collateral document where the contract referenced

  terms and conditions but did not attach them).

          Plaintiffs also argue the court in Johnson v. Whaleco, Inc., “denied a motion to compel

  arbitration for failure to describe and incorporate the arbitration provision within the online form.”



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    A browsewrap agreement, like Defendant’s Terms and Conditions, “occurs when a website merely
  provides a link to the terms and conditions and does not require the purchaser to click an acknowledgement
  during the checkout process.” Bell, 2020 WL 5742189, at *5 (quotation marks and citation omitted).
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  (Resp. 7 (citing (Johnson, 23-cv-403, Oct. 13, 2023 Order [ECF No. 29] filed on October 13, 2023

  (M.D. Fla. 2024)))). Defendant disputes Plaintiffs’ characterization of the case, arguing Johnson

  turned on the conspicuousness of the hyperlinks to the terms and conditions. (See Reply 6–7).

  The Court agrees with Defendant.

         In Johnson, the court found “the faint text linking to Defendant’s browsewrap agreement

  [wa]s located at the bottom of the webpage . . . far below the bright-orange ‘Continue’ button.”

  (Johnson, 23-cv-403, Oct. 13, 2024 Order 9–10 (alterations added; citation omitted)). The court

  denied the motion to compel arbitration because Florida courts only enforce browsewrap

  agreements where “the purchaser has actual knowledge of the terms and conditions, or when the

  hyperlink to the terms and conditions is conspicuous enough to put a reasonably prudent person

  on inquiry notice.” (Id. 6 (citing MetroPCS Commc’ns, Inc. v. Porter, 273 So. 3d 1025, 1028 (Fla

  3d DCA 2018))). Here, the hyperlinks, set apart in blue font directly above the “CONTINUE”

  button, are “conspicuous enough to put a reasonably prudent person on inquiry notice” and are

  therefore enforceable. MetroPCS Commc’ns, Inc., 273 So. 3d at 1029 (quotation marks and

  citation omitted); (see also Reply 5–7).

         In sum, Plaintiffs are unable to meet their burden to show their arbitration agreements are

  unenforceable, and, consequently, the case must proceed to arbitration. See Sims, 336 F. Supp. 2d

  at 1314.

                                             IV. CONCLUSION

         For the foregoing reasons, it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 18] is GRANTED as follows:

         1. Arbitration of Ramirez and Pita’s claims is compelled in accordance with the parties’

             arbitration agreements and the FAA.



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        2. This case is STAYED pending arbitration.

        3. The Clerk is directed to administratively CLOSE the case.

        DONE AND ORDERED in Miami, Florida, this 17th day of August, 2024.



                                              _________________________________
                                              CECILIA M. ALTONAGA
                                              CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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